Case 2:25-cv-00781-RSM   Document 38-1   Filed 05/16/25   Page 1 of 4




EXHIBIT 1
           Case 2:25-cv-00781-RSM           Document 38-1        Filed 05/16/25     Page 2 of 4




Head Start History
  headstart.gov/about-us/article/head-start-history

Part of the government's thinking on poverty was influenced by new research on the effects of poverty, as
well as on the impacts of education. This research indicated an obligation to help disadvantaged groups,
compensating for inequality in social or economic conditions. Head Start was designed to help break the
cycle of poverty, providing preschool children of low-income families with a comprehensive program to
meet their emotional, social, health, nutritional and psychological needs. A key tenet of the program
established that it be culturally responsive to the communities served, and that the communities have an
investment in its success through the contribution of volunteer hours and other donations as nonfederal
share.

In the summers of 1965 and 1966, the Office of Economic Opportunity launched an eight-week Project
Head Start. In 1969, under the Nixon administration, Head Start was transferred from the Office of
Economic Opportunity to the Office of Child Development in the U.S. Department of Health, Education,
and Welfare. Dr. Edward Zigler, who had served on the planning committee to launch Project Head Start,
was appointed Director of the Office of Child Development. In 1977, under the Carter administration,
Head Start began bilingual and bicultural programs in about 21 states. Seven years later, in October 1984
under the Reagan administration, Head Start's grant budget exceeded $1 billion. In September of 1995,
under the Clinton administration, the first Early Head Start grants were given and in October of 1998,
Head Start was reauthorized to expand to full-day and full-year services.

Head Start was most recently reauthorized again in 2007, under the George W. Bush administration, with
several provisions to strengthen Head Start quality. These include alignment of Head Start school readiness
goals with state early learning standards, higher qualifications for the Head Start teaching workforce, State
Advisory Councils on Early Care and Education in every state, and increased program monitoring,
including a review of child outcomes and annual financial audits. The Head Start training and technical
assistance system was redesigned to support programs through six National Centers and a state-based
system to ensure success.

The statute also included a provision that regulations be promulgated to move programs from an indefinite
project period to a five-year grant cycle. Programs would be required to demonstrate they are of high
quality or a competitive grant opportunity would be made available within the community. In 2009, under
the Obama administration, the American Reinvestment and Recovery Act added more than 64,000 slots for
Early Head Start and Head Start programs.

Head Start has served more than 30 million children since 1965, growing from an eight-week
demonstration project to include full day/year services and many program options. Currently, Head Start is
administered by the Administration for Children and Families (ACF) in the Department of Health and
Human Services. Head Start programs serve children from birth to age 5 and pregnant women in urban and
rural areas in all 50 states, the District of Columbia, Puerto Rico and the U.S. territories, including
American Indian, Alaska Native, and Migrant and Seasonal communities. See a full timeline.

History of Head Start

                                                                                                            1/3
           Case 2:25-cv-00781-RSM           Document 38-1         Filed 05/16/25      Page 3 of 4

Download the video [MP4, 91MB]

Download the transcript

Head Start: Educating Kids, Empowering Families, Changing
Communities
Download the video [MP4, 55MB]

Download the transcript

Video Transcript

  Head Start: Educating Kids, Empowering Families, Changing Communities


  Narrator: Forty-five years ago, President Johnson announced Project Head Start. Beginning as a
  summer program dedicated to fighting the war on poverty, the program has helped millions of
  children get a "head start." Today, Head Start programs continue their core mission, assisting the most
  vulnerable children and families wherever they reside. [Music]

  Lourdes Villanueva: I started with Head Start as a parent. At the time, I was taking my kids to the
  fields. They stayed in the truck, so it wasn't like they were out in the field running about. We would
  normally find shaded areas, and would park the truck far enough that they wouldn't be in the way of
  things, but close enough that we could hear them. As a parent, you come in not knowing -- I mean,
  you just go thinking that they're just gonna teach them something, just teach the kids, and keep them
  safe.

  So that was basically all that we were expecting. But it was really much more than that. I mean, they
  started inviting you to parent meetings, inviting you to parent trainings, and it was, you know, just one
  of those things that I felt that I was learning just as much as the kids were. With us traveling back and
  forth, we really didn't have any support -- family -- around us. I'm currently working as Director of
  Farmworker Advocacy. I have always worked with families. That's really -- probably who I enjoyed
  the most. Only because I -- I guess I see myself in a lot of those moms.

  And now, I guess I see now ourselves as that extended family that I don't have. What I think that Head
  Start had done for my children is that they were able -- all three of them -- to finish school, go to
  college, and that they are contributing citizens. And I honestly believe that that has to do with the start
  that they had -- the "head start".

  Alonso Felix: [speaks in Spanish] For me this program is very important because I could see a new
  vision. I could see my children, I don't know, in ten years as professionals, people helping other
  people. This program is not just of benefit to children, it is also a system that helps us get ahead.

  Flora Sanchez: I've seen a parent who's very quiet, and then the next year, start maybe going for a
  position in the elections. You know, now they're, um -- maybe they can see that maybe they can hold a
  position as a president or a vice-president, secretary. And then from there, they go to the Policy
  Council, and now you've seen how they've grown.



                                                                                                                2/3
            Case 2:25-cv-00781-RSM          Document 38-1        Filed 05/16/25      Page 4 of 4

  I've seen them just blossom and grow so much that they're able to now make appointments for
  themselves, or go to the doctor because maybe now they've learned to tell the doctor, "My child is
  sick," or "My child has a stomach ache." You've seen how we've been able to work with our families
  to make them become advocates for themselves.

  Patricia Batalla: [speaks in Spanish] This program, Head Start,has changed me a lot: my way of
  seeing... things, of educating my children. For my son, it has done a lot -- I am grateful to the
  program. My son came here at 1 year of age. I had no way to get somebody to take care of him and
  the program helped me a lot. I have a girl older and with her I also apply all that the program has
  given to me. I think that my daughter would have been very different if I have had the opportunity...
  I'm sorry... if I have had the opportunity of this program. I don't want to stop here. I want to keep
  learning, because I want that my children have success. I want them to be better than me.

  Gilbert Ventura: I have four kids. Three of them attended Head Start, one of them didn't -- and you
  can see the enormous difference between the ones that attended and the ones that didn't. Our oldest
  one that didn't attend, you can see difficulty in English, since English will be his second language,
  educational behavior, communicating. The most important thing I've learned as a parent in Head Start
  is to focus and be a part of your child's education.

  Head Start's changed my family in the way that we view life in a different perspective. We have
  dreams that we're going to try to accomplish, and we're pretty sure, with the help of Head Start, our
  kids will have those dreams and be accomplished.

  Norma Flores Lopez: I started full time around the age of twelve; that's when they actually got me on
  the books that, you know, that's when it was legal for me to start working. My work week would be
  probably anywhere between 70 or 80 hours a week when it was the peak harvest. And during the
  summers, and I would be going out there for 12-hour- long days, working out of the corn fields. I
  believe that if Head Start wasn't around, we would be seeing a lot more children out in those fields at
  very young ages.

  Many of the parents can't afford to have day care, or anybody to be able to watch after their kids, and
  they end up taking them out to the fields which can be very dangerous. Growing up as a migrant
  farmworker child, I can relate to a lot of these kids and what they're going through, and I just want to
  be able to provide a better future for these kids, and let them see that an education is achievable, and
  that it's very possible, and that they have the power to be able to change their lives around and not
  have to continue this cycle; that they can be truly whatever it is they want to be.

  [Music]

  -- End of Video --




Read more:

Head Start History
, About Us

Last Updated: January 31, 2025




                                                                                                             3/3
